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 7 Attorneys for the United States
 8                        UNITED STATES DISTRICT COURT
 9
                       SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                  Case No. 17CR3690-AJB
11
12               Plaintiff,                     UNITED STATES’ RESPONSE IN
                                                OPPOSITION TO DEFENDANT’S
13                                              MOTION TO DISMISS MERGE COUNTS
           v.                                   3 AND 4 OF THE SUPERSEDING
14                                              INDICTMENT
15   MORGAN ROCKCOONS,
                                                Date:    August 21, 2018
16               Defendant.                     Time:    1:30 p.m.
17
18        COMES NOW the plaintiff, UNITED STATES OF AMERICA, by and through

19 its counsel, Adam L. Braverman, United States Attorney, and Jonathan I. Shapiro,
20 Assistant United States Attorney, and hereby files its Response in Opposition to
21 Defendant’s Motion to Merge Counts 3 and 4 of the Superseding Indictment.
22                                        I.

23                                      Argument

24     A. Counts 3 and 4 Should Not Be Merged

25        Counts 3 and 4 of the Superseding Indictment charge distinct instances of wire
26 fraud and are not multiplicitous. “The test for multiplicity is whether each count
27 ‘requires proof of an additional fact which the other does not.’” United States v.
28
       Case 3:17-cr-03690-AJB Document 38 Filed 12/21/18 PageID.183 Page 2 of 4



     Garlick, 240 F.3d 789, 794 (9th Cir. 2001) (quoting Blockburger v. United States, 284
 1
     U.S. 299 (1932)).
 2
             The wire fraud statute prohibits “transmit[ting] . . .by means of wire . . . any
 3
 4 writings . . .for the purposes of executing” a scheme to defraud. Counts 3 and 4 allege
 5 distinct writings. Specifically, Count 3 alleges that defendant caused to be transmitted
 6 by wire the following fraudulent statement: “500-1000 Acre plots are for sale for .5
 7 BTC per acre.” Count 4 alleges that defendant caused to be transmitted by wire the
 8 following fraudulent statement: “Buy Land.”
 9       On the face of the Superseding Indictment, it is clear that Counts 3 and 4 allege

10 different writings, and therefore each count requires “proof of an additional fact which
11 the other does not.” Accordingly, under the Blockburger test, the two counts are not
12 multiplicitous.
      B. The United States Does Not Oppose Severing Counts 3-6
13
         The United States does not oppose defendant’s motion to sever Count 1 and 2
14
   from Counts 3-6.
15
16                                                          II.
17                                                 CONCLUSION
18           For the foregoing reasons, the United States respectfully requests that
19 Defendant’s motion to merge Counts 3 and 4 be denied.
20
21           DATED: December 21, 2018                             Respectfully submitted,
                                                                  ADAM L. BRAVERMAN
22
                                                                  United States Attorney
23
                                                                  /s/Jonathan I. Shapiro
24
                                                                  Jonathan I. Shapiro
25                                                                Assistant United States Attorney
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     United States’ Response in Opposition to Defendant’s   2                                17CR3690-AJB
     Motion to Sever Counts
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                                  UNITED STATES DISTRICT COURT
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 6                             SOUTHERN DISTRICT OF CALIFORNIA
 7
      UNITED STATES OF AMERICA,                                 Case No.: 17CR3690-AJB
 8
                       Plaintiff,                               CERTIFICATE OF SERVICE
 9
              v.
10
11    MORGAN ROCKCOONS,

12                     Defendant.
13
14
             I, Jonathan I. Shapiro, am a citizen of the United States and am at least eighteen
15
     years of age. My business address is 880 Front Street, Room 6293, San Diego,
16
     California 92101-8893.
17
             I am not a party to the above-entitled action. I have caused service of the United
18
     States’ Response in Opposition to Defendant’s Motion to Merge Counts 3 and 4 of
19
     the Superseding Indictment on the following party by electronically filing the
20
     foregoing with the Clerk of the U.S. District Court for the Southern District of
21
   California using its ECF System.
22           David Z. Chesnoff
23           Richard Schonfeld
             Counsel for defendant Morgan Rockcoons
24
         I declare under penalty of perjury that the foregoing is true and correct.
25
         Dated: December 21, 2018.
26                                        s/Jonathan I. Shapiro
27                                        JONATHAN I. SHAPIRO
                                          Assistant U.S. Attorney
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     United States’ Response in Opposition to Defendant’s   3                            17CR3690-AJB
     Motion to Sever Counts
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     United States’ Response in Opposition to Defendant’s   4               17CR3690-AJB
     Motion to Sever Counts
